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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION
800 K Street N.W., Suite 1000
Washington, D.C. 20001,

                          Plaintiff,

             v.

DONALD J. TRUMP,                                       Case No. 1:25-cv-00935 (PLF)
President of the United States
1600 Pennsylvania Avenue N.W.
Washington, D.C. 20500, et al.,

                          Defendants.
__________________________________________________

                            JOINT STATUS REPORT

      Pursuant to the Court’s April 4, 2025 Order, Plaintiff National Treasury

Employees Union (NTEU) and Defendants Donald. Trump et al., respectfully

submit this joint status report regarding oral argument scheduled for April 23,

2025. The Court’s Order directed the parties to meet and confer and to file a joint

status report “regarding the order of argument and time limits for opening

argument and rebuttal.”

      Counsel for the parties agree and propose to the Court that (1) Plaintiff’s

counsel proceed first at oral argument and (2) each side have thirty minutes for

argument, with the right to reserve ten of those minutes for rebuttal.

Respectfully submitted,

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                                April 21, 2025




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